
15 N.Y.2d 508 (1964)
In the Matter of the Claim of Abraham Goodwin, Respondent,
v.
New York State Workmen's Compensation Board et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued October 8, 1964.
Decided October 15, 1964.
Bernard F. Farley and Joseph M. Soviero for Workmen's Compensation Board and State Insurance Fund, appellants.
John M. Cullen for Special Disability Fund, appellant.
Louis J. Lefkowitz, Attorney-General (Harry Rackow, Paxton Blair and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
Abraham Markhoff for claimant-respondent.
Concur: Chief Judge DESMOND and Judges DYE, BURKE and BERGAN. Judges FULD, VAN VOORHIS and SCILEPPI dissent and vote to reverse and to dismiss the claim upon the dissenting opinion at the Appellate Division.
Order affirmed, with one bill of costs to respondents; no opinion.
